Case 3:20-cv-08570-JD Document 759-12 Filed 04/05/24 Page 1 of 4




          EXHIBIT 11
             Case 3:20-cv-08570-JD Document 759-12 Filed 04/05/24 Page 2 of 4
Consolidated financial statements of Wirtualna Polska Holding SA
for the year ending 31 December 2022
TRANSLATION ONLY



       ,




                                                                                1
              Case 3:20-cv-08570-JD Document 759-12 Filed 04/05/24 Page 3 of 4
Consolidated financial statements of Wirtualna Polska Holding SA
for the year ending 31 December 2022
TRANSLATION ONLY


on current turnover forecast and recognizes them as a reduction of revenues for the period. The annual rebates are a variable
consideration recognized to the extent to which it is highly probable that there will be no reversal of a significant part of
revenues The final amounts of rebates are known after the end of the financial year.


RECOGNITION OF REVENUE FROM AGENCY SALES ON CAR SALES
The Group sells goods both in the agency model, acting as an intermediary between the end customer and the supplier of
the goods, as well as in the model of full control over the sales process to the end customer. For each sale, the Group assesses
whether it acts as an intermediary or as a seller. If the Group acts as an intermediary, revenue is recognized in the amount of
the commission received from the seller of the goods. Otherwise, revenue is recognized in the full amount due from the end
customer.


ESTIMATE OF LIABILITIES DUE TO CONTINGENT CONSIDERATION RELATED TO BUSINESS COMBINATIONS
Agreements concluded by the Group within the acquisition activities often provide additional contingent consideration for
sold shares or ventures. Additional consideration is usually dependent on financial or operating results of entities acquired.
The final value of the contingent consideration is known after the end of the conditional period and may differ from the
estimates at the moment of acquisition.
Changes in the fair value of contingent consideration as a result of additional information that the acquirer obtained after the
date of acquisition about facts and circumstances that existed at the acquisition date are recognized as the purchase price
adjustment. Changes in valuation due to differences in financial or operating results from the level assumed at initial
recognition are presented in the income statement and other comprehensive income.
The Group analyses the conditions necessary for the payment of additional consideration at each time based on
requirements of IFRS 3 and includes in purchase price this part of contingent consideration which is not the consideration
other than due to transfer of rights to shares.


DEFERRED TAX ASSET
           Recovery of the deferred tax asset

The Group recognizes a deferred tax asset based on the assumption that a tax profit will be generated in the future enabling
its utilization. The Parent Company’s Management Board has prepared financial projections until 2026, which confirm that
sufficiently high taxable income will be generated in the future to enable the utilization of the asset. The financial model has
been developed based on market-wide forecasts and the Management Board’s expectations. Deterioration of tax results in
the future might result in the assumption becoming unjustified.


VALUATION ON THE OPTION-RELATED COMMITMENT TO PURCHASE NON-CONTROLLING INTERESTS
Commitments in respect of put options for non-controlling interests are subsequently measured at the amount being the
best present estimate of the discounted purchase price.
Any changes in the value of these liabilities, resulting from discount settlement after the initial recognition, are presented in
profit or loss as financial income/costs. Changes in the value resulting from an update of the forecasted results as the basis
for estimating future liability are recognized as “Revaluation of commitments to purchase non-controlling interests and other
liabilities resulting from business combinations”.

      5.       INFORMATION ON SEGMENT REPORTING

Following a number of significant acquisitions and the resulting change in the Group’s structure, the Management
Board has changed the way it analyses the Group’s results and makes key decisions. The Management Board has
identified three main operating segments: Advertising and Subscriptions (publishing and media activities as well as
B2C services offered in the subscription model), Tourism (brokerage in the sale of domestic and foreign tourist services)
and Consumer finance (activities generating revenues mainly from intermediation in obtaining financing). In addition,
there has been separated the Other segment, which brings together the Group's activities that do not meet the
criterion of individual separation (sale of house designs and generation of green electricity).

                                                                                                                             21
The attached notes constitute an integral part of these financial statements
              Case 3:20-cv-08570-JD Document 759-12 Filed 04/05/24 Page 4 of 4
Consolidated financial statements of Wirtualna Polska Holding SA
for the year ending 31 December 2022
TRANSLATION ONLY

        Twelve months ending            Advertising and                           Consumer                          Inter-segment
                                                                Travel                              Other                                    Total
         31 December 2022                subscriptions                             finance                           transactions
  Sales                                        624 621                242 770          171 033            49 221            (9 925)           1 077 720
 including cash revenue                         595 054               242 770           171 033         49 221              (9 925)           1 048 153
  EBITDA adjusted (note 9)                      282 335                61 181           30 023         (2 186)                    -             371 353



      Twelve months ending          Advertising and                             Consumer                           Inter-segment
                                                             Travel                               Other                                      Total
        31 December 2021             subscriptions                               finance                            transactions
 Sales                                      546 140              127 834             131 783          75 538                (9 056)            872 239
 including cash revenue                      521 359             127 834              131 783         75 538                (9 056)            847 458
 EBITDA adjusted                            251 234               27 735              24 956           3 893                      -            307 818



The Management Board analyses the results of the segments only up to the adjusted EBITDA level as described in the note
9 of the consolidated financial statements.
The Management Board does not analyse the operating segments in relation to their asset’s value.
The Group’s operating segments are presented consistently with the internal reporting submitted to the Parent Company’s
Management Board, which is the main body responsible for making operational decisions.

      6.       INFORMATION ON SEASONALITY OF GROUP’S OPERATIONS
Revenues from the Media and Subscriptions segment are characterized by seasonality, so that revenues in the first and third
quarters are lower than in the second and fourth quarters of a year.
Revenues from the Tourism segment show high seasonality and the highest revenue levels are generated in the third quarter
of a year.
The Group's other revenues do not show any significant seasonality.

      7.       THE GROUP’S STRUCTURE
As of 31 December 2022 the Capital Group represented: the parent company Wirtualna Polska Holding SA and 30
subsidiaries. The consolidated financial statements of the Group comprise the Company and the following subsidiaries:
 Segment      Entity                                   Headquarter                                   Parent company                   Parent
                                                                                                                                      company’s
                                                                                                                                      share
 Holding     Wirtualna Polska Holding S.A              Poland, Warsaw
 Advertising and Subscription
             Wirtualna Polska Media S.A.               Poland, Warsaw                                Wirtualna Polska Holding         100%
             Netwizor sp. z o.o.                       Poland, Warsaw                                Wirtualna Polska Media           100%
             BusinessClick sp. z o.o.                  Poland, Warsaw                                Wirtualna Polska Media           100%
             Open FM sp. z o.o.                        Poland, Warsaw                                Wirtualna Polska Media           100%
             Stacja Służew sp. z o.o.                  Poland, Warsaw                                Wirtualna Polska Media           100%
             WEV Partners Limited                      Cyprus                                        Stacja Służew                    100%
             Audioteka S.A. (Grupa *)                  Poland, Czechia, Lithuania, Turkey            Stacja Służew                    61%
             Benchmark sp. z o.o.                      Poland, Poznan                                Wirtualna Polska Media           100%
             Mediapop sp. z o.o.                       Poland, Warsaw                                Wirtualna Polska Media           100%
 Travel
             Wakacje.pl S.A.                           Poland, Gdank                                 Wirtualna Polska Media           100%
             Parklot sp. z o.o.                        Poland, Gdansk                                Wakacje                          100%
             Nocowanie.pl sp. z o.o.                   Poland, Lublin                                Wirtualna Polska Media           100%
             Camellia Investments Kft                  Hungary                                       Wirtualna Polska Media           100%
             Grupa Szallas **                          Hungary, Czechia, Romania, Croatia, Poland    Camellia Investments Kft         100%
 Consumer Finance
             Totalmoney sp. z o.o.                     Poland, Wrocław                               Wirtualna Polska Media   100%
             Superauto24.com sp. z o.o.                Poland, Chorzów                               Wirtualna Polska Holding 51%
 Other
             Extradom sp. z o.o.                       Poland, Wrocław                               Wirtualna Polska Holding 100%
             WP Naturalnie Solar 1 sp. z o.o.          Poland, Warsaw                                Wirtualna Polska Media   100%
             Casalan Investments sp. z o.o.            Poland, Warsaw                                Wirtualna Polska Media   100%



                                                                                                                                                     22
The attached notes constitute an integral part of these financial statements
